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                     EXHIBIT G
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                                                                                                 US010754616B1

( 12 ) Bates
       United States Patent                                                  ( 10 ) Patent No .: US 10,754,616 B1
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(54) PROCESSING WITH COMPACT                                            (51 ) Int. Ci .
      ARITHMETIC PROCESSING ELEMENT                                                 G06F 7/483           (2006.01 )
                                                                                    G06F 7/38            (2006.01 )
( 71 ) Applicant: Singular Computing LLC , Newton,                                  HO3K 19/17728        (2020.01 )
                MA (US)                                                             GOOF 7/523           (2006.01 )
                                                                        (52) U.S. CI .
(72 ) Inventor: Joseph Bates , Newton , MA (US )                                    CPC             G06F 7/483 (2013.01 ) ; G06F 7/38
                                                                                         ( 2013.01 ) ; G06F 7/4833 ( 2013.01 ) ; G06F
( 73 ) Assignee : Singular Computing LLC , Newton,                                    7/5235 ( 2013.01 ) ; HO3K 19/17728 (2013.01 )
                  MA (US)                                               ( 58 ) Field of Classification Search
                                                                               None
( * ) Notice:      Subject to any disclaimer, the term of this                 See application file for complete search history.
                   patent is extended or adjusted under 35
                   U.S.C. 154 ( b) by 0 days.                           ( 56 )                  References Cited
( 21 ) Appl. No .: 16 /882,686                                                            U.S. PATENT DOCUMENTS
( 22) Filed :      May 25 , 2020                                                 5,153,848 A * 10/1992 Elkind              G06F 7/483
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               Related U.S. Application Data                                                                                  326/38
                                                                                 7,746,108 B1 * 6/2010 Young           HO3K 19/17736
(63 ) Continuation of application No. 16/ 571,871 , filed on                                                                  326/38
      Sep. 16 , 2019 , now Pat . No. 10,664,236 , which is a
       continuation of application No. 16 / 175,131 , filed on          * cited by examiner
       Oct. 30 , 2018 , now Pat . No. 10,416,961 , which is a
       continuation of application No. 15 /784,359 , filed on           Primary Examiner - Michael D. Yaary
       Oct. 16 , 2017 , now Pat . No. 10,120,648 , which is a           (74 ) Attorney, Agent, or Firm — Blueshift IP, LLC ;
       continuation of application No. 14 / 976,852 , filed on          Robert Plotkin
       Dec. 21 , 2015 , now Pat . No. 9,792,088 , which is a                                        ABSTRACT
       continuation of application No. 13 / 849,606 , filed on          ( 57 )
       Mar. 25 , 2013 , now Pat . No. 9,218,156 , which is a            Low precision computers can be efficient at finding possible
       continuation of application No. 13 /399,884 , filed on           answers to search problems. However, sometimes the task
       Feb. 17 , 2012 , now Pat. No. 8,407,273 , which is a             demands finding better answers than a single low precision
       continuation of application No. 12 / 816,201 , filed on          search . A computer system augments low precision comput
       Jun . 15 , 2010 , now Pat . No. 8,150,902 .                      ing with a small amount of high precision computing, to
                                                                        improve search quality with little additional computing.
( 60 ) Provisional application No. 61 / 218,691 , filed on Jun .
       19 , 2009 .                                                                    25 Claims , 11 Drawing Sheets




                                     Control                             Processing Element
                                    Uni (CU )                                 Array ( PEA )




                                                108


                                                        Input/Output Unit ( IOU )
                                                             102


                                                                                 Peripherals
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                                               mod

                                          Processing Element
    Unit (CU)                                 Array (PEA )




                        Input/Output Unit ( IOU )
                              102


                                                    Peripherals
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                                  204




               206                208




                                  FIG . 2
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                                          304


                                  PE




                                                       EAST



                                  PE
                              SOUTH

                                  308


                                         TO I / O Unit 108
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                                                                                                      402h

                            4020
                                                                  CONSTA
                                                          404
       E
                                   402a
                     NEIGHBORS                                                        4021
                                                                                               MASK
        NTEIGHOBRS                               402d                                 4029

                                                                                             402
                                                                  REGIST
                                          412a
                                                        412b 4120 412d
                                     CONTRLSIGNALS
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                           ein
                                    FRACTION ILOd
                                                                  5020
                 VALUE
                                    INTEGR             5
                                                                                   .
                                                                                   FIG
                                                                                   5




                                             SIGN
                                    VALUE              youw




                                             NUMBER
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  602b
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                           DIV


                                                        610b
                                     909                                          602c
                                                        6102
                           MUL
                           +
                           (
                           )

                                                  MUX                           VNALUNE OUTI   .
                                                                                               FIG
                                                                                               6




  602a                     ADD/SUB




                                           4125 4120 4120
                                                               CONTRL SIGNALS
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                                  FIG.7
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                                   FIG . 8
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                                                   US 10,754,616 B1
                       1                                                                          2
           PROCESSING WITH COMPACT                               massively parallel processor or other device , which includes
      ARITHMETIC PROCESSING ELEMENT                              processing elements designed to perform arithmetic opera
                                                                 tions ( possibly but not necessarily including, for example ,
                    COPYRIGHT NOTICE                             one or more of addition , multiplication, subtraction , and
                                                              5 division) on numerical values of low precision but high
   A portion of the disclosure of this patent document dynamic range ( “LPHDR arithmetic ” ). Such a processor or
contains material which is subject to copyright protection . other device may, for example, be implemented on a single
The copyright owner has no objection to the facsimile chip . Whether or not implemented on a single chip , the
reproduction by anyone of the patent document or the patent number of LPHDR arithmetic elements in the processor or
disclosure , as it appears in the Patent and Trademark Office 10 other device in certain embodiments of the present invention
patent file or records, but otherwise reserves all copyright significantly exceeds (e.g. , by at least 20 more than three
rights whatsoever.                                                 times ) the number of arithmetic elements in the processor or
                                                                   other device which are designed perform high dynamic
                      BACKGROUND                                   range arithmetic of traditional precision ( such as 32 bit or 64
                                                               15 bit floating point arithmetic ).
   The ability to compute rapidly has become enormously              In some embodiments, “ low precision ” processing ele
important to humanity. Weather and climate prediction, ments perform arithmetic operations which produce results
medical applications ( such as drug design and non - invasive that frequently differ from exact results by at least 0.1 % (one
imaging ) , national defense, geological exploration, financial tenth of one percent ). This is far worse precision than the
modeling , Internet search, network communications, scien- 20 widely used IEEE 754 single precision floating point stan
tific research in varied fields, and even the design of new dard . Programmable embodiments of the present invention
computing hardware have each become dependent on the may be programmed with algorithms that function
ability to rapidly perform massive amounts of calculation . adequately despite these unusually large relative errors . In
Future progress, such as the computer- aided design of some embodiments, the processing elements have “ high
complex nano - scale systems or development of consumer 25 dynamic range” in the sense that they are capable of oper
products that can see , hear, and understand , will demand ating on inputs and / or producing outputs spanning a range at
economical delivery of even greater computing power.             least as large as from one millionth to one million .
   Gordon Moore's prediction, that computing performance
per dollar would double every two years , has proved valid              BRIEF DESCRIPTION OF THE DRAWINGS
for over 30 years and looks likely to continue in some form . 30
But despite this rapid exponential improvement, the reality         FIG . 1 is an example overall design of a SIMD processor
is that the inherent computing power available from silicon according to one embodiment of the present invention .
has grown far more quickly than it has been made available          FIG . 2 is an example of the Processing Element Array of
to software . In other words , although the theoretical com 35 a SIMD processor according to one embodiment of the
puting power of computing hardware has grown exponen present invention .
tially, the interfaces through which software is required to          FIG . 3 is an example of how a Processing Element in a
access the hardware limits the ability of software to use          Processing Element Array communicates data with other
hardware to perform computations at anything approaching parts of the processor according to one embodiment of the
the hardware's theoretical maximum computing power.                present invention .
   Consider a modern silicon microprocessor chip contain- 40 FIG . 4 is an example design for a Processing Element
ing about one billion transistors, clocked at roughly 1 GHz . according to one embodiment of the present invention .
On each cycle the chip delivers approximately one useful              FIG . 5 is an example LPHDR data word format according
arithmeticperation the software is running. For to one embodiment of the present invention.
instance, a value might be transferred between registers ,            FIG . 6 is an example design for an LPHDR arithmetic unit
another value might be incremented, perhaps a multiply is 45 according to one embodiment of the present invention .
accomplished. This is not terribly different from what chips          FIG . 7 is an original image .
did 30 years ago , though the clock rates are perhaps a               FIG . 8 is an image blurred by a blur kernel according to
thousand times faster today.                                       one embodiment of the present invention .
   Real computers are built as physical devices , and the             FIG . 9 is an image produced by Richardson Lucy decon
underlying physics from which the machines are built often 50 volution using floating point arithmetic according to one
exhibits complex and interesting behavior. For example , a embodiment of the present invention .
silicon MOSFET transistor is a device capable of perform              FIG . 10 is an image produced by Richardson Lucy
ing interesting non - linear operations, such as exponentia        deconvolution using LPHDR floating point arithmetic with
tion . The junction of two wires can add currents . If config added noise ( fp + noise) according to one embodiment of the
ured properly, a billion transistors and wires should be able 55 present invention .
to perform some significant fraction of a billion interesting         FIG . 11 is an image produced by Richardson Lucy decon
computational operations within a few propagation delays of volution using LPHDR logarithmic arithmetic (Ins ) accord
the basic components ( a “ cycle ” if the overall design is a ing to one embodiment of the present invention .
traditional digital design) . Yet, today's CPU chips use their
billion transistors to enable software to perform merely a 60                        DETAILED DESCRIPTION
few such operations per cycle , not the significant fraction of
the billion that might be possible .                                 As described above , today's CPU chips make inefficient
                                                                   use of their transistors. For example, a conventional CPU
                         SUMMARY                                   chip containing a billion transistors might enable software to
                                                                65 perform merely a few operations per clock cycle . Although
   Embodiments of the present invention are directed to a this is highly inefficient, those having ordinary skill in the art
processor or other device, sucha programmableador design CPUs in this way for what are widely accepted to be
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valid reasons . For example, such designs satisfy the (often centage points in its results . They also introduce noise into
essential) requirement for software compatibility with ear their computations, so the computations are not repeatable .
lier designs. Furthermore, they deliver great precision , per Further, they represent only a small range of values , corre
forming exact arithmetic with integers typically 32 or 64 bits sponding for instance to 8 bit fixed point values rather than
long and performing rather accurate and widely standardized 5 providing the large dynamic range of typical 32 or 64 bit
arithmetic with 32 and 64 bit floating point numbers. Many
applications need this kind of precision . As a result , con floating  point representations. Given these limitations , the
                                                               SCAMP was not intended as a general purpose computer,
ventional CPUs typically are designed to provide such
precision, using on the order of a million transistors to but   for
                                                                    instead was designed and used for image processing and
                                                                    modeling   biological early vision processes. Such appli
implement the arithmetic operations.                         10
                                                                cations do  not require a full range of arithmetic operations
   There are many economically important applications, in hardware, and            the SCAMP, for example, omits general
however, which are not especially sensitive to precision and division and multiplication      from its design .
that would greatly benefit, in the form of application per         While  SIMD    machines   were  popular in the 1980s , as
formance per transistor, from the ability to draw upon a far
greater fraction of the computing power inherent in those 15 price/performance for microprocessors improved designers
million transistors. Current architectures for general purpose   began building machines from large collections of commu
computing fail to deliver this power.                           nicating microprocessors . These MIMD machines are fast
   Because of the weaknesses of conventional computers ,        and can have price /performance comparable to their com
such as typical microprocessors , other kinds of computers      ponent microprocessors , but they exhibit the same ineffi
have been developed to attain higher performance. These 20 ciency as those components in that they deliver to their
machines include single instruction stream /multiple data software relatively little computation per transistor.
stream ( SIMD ) designs , multiple instruction stream /multiple    Field Programmable Gate Arrays (FPGAs) are integrated
data stream (MIMD ) designs , reconfigurable architectures circuits containing a large grid of general purpose digital
such as field programmable gate arrays ( FPGAs ), and graph elements with reconfigurable wiring between those ele
ics processing unit designs (GPUs ) which , when applied to 25 ments. The elements originally were single digital gates ,
general purpose computing, may be viewed as single such as AND and OR gates , but evolved to larger elements
instruction stream /multiple thread ( SIMT ) designs.           that could , for instance, be programmed to map 6 inputs to
   SIMD machines follow a sequential program , with each 1 output according to any Boolean function. This architec
instruction performing operations on a collection of data . ture allows the FPGA to be configured from external sources
They come in two main varieties: vector processors and 30 to perform a wide variety of digital computations, which
array processors . Vector processors stream data through a allows the device to be used as a co -processor to a CPU to
processing element ( or small collection of such elements ). accelerate computation. However, arithmetic operations
Each component of the data stream is processed similarly. such as multiplication and division on integers , and espe
Vector machines gain speed by eliminating many instruction cially on floating point numbers, require many gates and can
fetch / decode operations and by pipelining the processor so 35 absorb a large fraction of an FPGA's general purpose
that the clock speed of the operations is increased .           resources. For this reason , modern FPGAs often devote a
   Array processors distribute data across a grid of process significant portion of their area to providing dozens or
ing elements (PEs ) . Each element has its own memory. hundreds of multiplier blocks , which can be used instead of
Instructions are broadcast to the PEs from a central control general purpose resources for computations requiring mul
until, sequentially. Each PE performs the broadcast instruc- 40 tiplication. These multiplier blocks typically perform 18 bit
tion on its local data ( often with the option to sit idle that or wider integer multiplies, and use many transistors, as
cycle ) . Array processors gain speed by using silicon effi similar multiplier circuits do when they are part of a general
ciently using just one instruction fetch /decode unit to drive purpose CPU.
many small simple execution units in parallel.                     Existing Field Programmable Analog Arrays (FPGAs ) are
   Array processors have been built using fixed point arith- 45 analogous to FPGAs , but their configurable elements per
metic at a wide variety of bit widths, such as 1 , 4 , 8 , and form analog processing. These devices generally are
wider, and using floating point arithmetic . Small bit widths intended to do signal processing, such as helping model
allow the processing elements to be small , which allows neural circuitry. They are relatively low precision, have
more of them to fit in the computer, but many operations relatively low dynamic range, and introduce noise into
must be carried out in sequence to perform conventional 50 computation . They have not been designed as , or intended
arithmetic calculations . Wider widths allow conventional for use as , general purpose computers. For instance , they are
arithmetic operations to be completed in a single cycle . In not seen by those having ordinary skill in the art as machines
practice, wider widths are desirable. Machines that were that can run the variety of complex algorithms with floating
originally designed with small bit widths, such as the point arithmetic that typically run on high performance
Connection Machine - 1 and the Goodyear Massively Parallel 55 digital computers.
Processor, which each used 1 bit wide processing elements,         Finally, Graphics Processing Units ( GPUs) are a variety
evolved toward wider data paths to better support fast of parallel processor that evolved to provide high speed
arithmetic, producing machines such as the Connection graphics capabilities to personal computers. They offer
Machine - 2 which included 32 bit floating point hardware standard floating point computing abilities with very high
and the MasPar machines which succeeded the Goodyear 60 performance for certain tasks . Their computing model is
machine and provided 4 bit processing elements in the sometimes based on having thousands of nearly identical
MasPar- 1 and 32 bit processing elements in the MasPar - 2 . threads of computing ( SIMT ) , which are executed by a
   Array processors also have been designed to use analog collection of SIMD - like internal computing engines, each of
representations of numbers and analog circuits to perform which is directed and redirected to perform work for which
computations . The SCAMP is such a machine. These 65 a slow external DRAM memory has provided data. Like
machines provide low precision arithmetic, in which each other machines that implement standard floating point arith
operation might introduce perhaps an error of a few per metic , they use many transistors for that arithmetic. They are
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                               5                                                                    6
as wasteful of those transistors , in the sense discussed above,     0.1 % . If these values were represented and manipulated
as are general purpose CPUs .                                        using the methods of floating point arithmetic , they would
   Some GPUs include support for 16 bit floating point               have binary mantissas of no more than 10 bits plus a sign bit
values ( sometimes called the “ Half" format ). The GPU              and binary exponents of at least 5 bits plus a sign bit .
manufacturers, currently such as NVIDIA or AMD / ATI, 5 However, the circuits to multiply and divide these floating
describe this capability as being useful for rendering images        point values would be relatively large. One example of an
with higher dynamic range than the usual 32 bit RGBA alternative embodiment is to use a logarithmic representa
format, which uses 8 bits of fixed point data per color, while tion of the values . In such an approach, the values require the
also saving space over using 32 bit floating point for color same number of bits to represent, but multiplication and
components . The special effects movie firm Industrial Light 10 division are implemented as addition and subtraction,
and Magic ( ILM) independently defined an identical repre respectively, of the logarithmic representations . Addition
sentation in their OpenEXR standard , which they describe as and subtraction may be implemented efficiently as described
“ a high dynamic - range ( HDR) image file format developed below . As a result , the area of the arithmetic circuits remains
by Industrial Light & Magic for use in computer imaging relatively small and a greater number of computing elements
applications.” Wikipedia ( late 2008 ) describes the 16 bit 15 can be fit into a given area of silicon . This means the
floating point representation thusly: “ This format is used in machine can perform a greater number of operations per unit
several computer graphics environments including of time or per unit power, which gives it an advantage for
OpenEXR , OpenGL , and D3DX . The advantage over 8 - bit those computations able to be expressed in the LPHDR
or 16 -bit binary integers is that the increased dynamic range framework .
allows for more detail to be preserved in highlights and 20 Another embodiment is to use analog representations and
shadows. The advantage over 32 - bit single precision binary processing mechanisms. Analog implementation of LPHDR
formats is that it requires half the storage and bandwidth . ” arithmetic has the potential to be superior to digital imple
    When a graphics processor includes support for 16 bit mentation , because it tends to use the natural analog physics
floating point, that support is alongside support for 32 bit of transistors or other physical devices instead of using only
floating point, and increasingly, 64 bit floating point . That is , 25 the digital subset of the device's behavior. This fuller use of
the 16 bit floating point format is supported for those the devices ' natural abilities may permit smaller mecha
applications that want it , but the higher precision formats nisms for doing LPHDR arithmetic . In recent years , in the
also are supported because they are believed to be needed for field of silicon circuitry, analog methods have been sup
traditional graphics applications and also for so called planted by digital methods. In part, this is because of the
“ general purpose ” GPU applications. Thus, existing GPUs 30 ease of doing digital design compared to analog design. Also
devote substantial resources to 32 ( and increasingly 64 ) bit in part, it is because of the continued rapid scaling of digital
arithmetic and are wasteful of transistors in the sense        technology (“ Moore's Law ” ) compared to analog technol
discussed above .                                              ogy . In particular, at deep submicron dimensions, analog
   The variety of architectures mentioned above are all transistors no longer work as they had in prior generations
attempts to get more performance from silicon than is 35 of larger - scale technology. This change of familiar behavior
available in a traditional processor design . But designers of has made analog design still harder in recent years . How
traditional processors also have been struggling to use the ever , digital transistors are in fact analog transistors used in
enormous increase in available transistors to improve per a digital way, meaning digital circuits are really analog
formance of their machines. These machines often are circuits designed to attempt to switch the transistors between
required , because of history and economics , to support large 40 completely on and completely off states. As scaling contin
existing instruction sets , such as the Intel x86 instruction set . ues , even this use of transistors is starting to come face to
This is difficult, because of the law of diminishing returns, face with the realities of analog behavior. Scaling of tran
which does not enable twice the performance to be delivered sistors for digital use is expected either to stall or to require
by twice the transistor count. One facet of these designers' digital designers increasingly to acknowledge and work with
struggle has been to increase the precision of arithmetic 45 analog issues. For these reasons , digital embodiments may
operations, since transistors are abundant and some appli no longer be easy, reliable, and scalable, and analog embodi
cations could be sped up significantly if the processor ments of LPHDR arithmetic may come to dominate com
natively supported long (e.g. , 64 bit) numbers. With the mercial architectures .
increase of native fixed point precision from 8 to 16 to 32 to       Because LPHDR processing elements are relatively
64 bits , and of floating point from 32 to 64 and sometimes 50 small , a single processor or other device may include a very
128 bits , programmers have come to think in terms of high large number of LPHDR processing elements, adapted to
precision and to develop algorithms based on the assumption operate in parallel with each other, and therefore may
that computer processors provide such precision, since it constitute a massively parallel LPHDR processor or other
comes as an integral part of each new generation of silicon device . Such a processor or other device has not been
chips and thus is " free .”                                    55 described or practiced as a means of doing general purpose
                                                                  computing by those having ordinary skill in the art for at
            Embodiments of the Present Invention                  least two reasons . First , it is commonly believed by those
                                                                  having ordinary skill in the art, that LPHDR computation,
   efficiently provide computing power using a fundamen and in particular massive amounts of LPHDR computation,
tally different approach than those described above. In 60 whether performed in a massively parallel way or not, is not
particular, embodiments of the present invention are directed practical as a substrate for moderately general computing.
to computer processors or other devices which use low Second , it is commonly believed by those having ordinary
precision high dynamic range ( LPHDR ) processing ele             skill in the art that massive amounts of even high precision
ments to perform computations ( such as arithmetic opera computation on a single chip or in a single machine , as is
tions )                                                        65 enabled by a compact arithmetic processing unit, is not
   One variety of LPHDR arithmetic represents values from useful without a corresponding increase in bandwidth
one millionth up to one million with a precision of about            between processing elements within the machine and into
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and out of the machine because computing is wire limited example, embodiments of the present invention may be
and arithmetic can be considered to be available at no cost . implemented as GPU /SIMTs and as MIMDs , among others .
   Despite these views — that massive amounts of arithmetic For example, embodiments of the present invention may be
on a chip or in a massively parallel machine are not useful, implemented as any kind of machine which uses LPHDR
and that massive amounts of LPHDR arithmetic are even 5 arithmetic processing elements to provide computing using
worse embodiments of the present invention disclosed             a small amount of resources (e.g. , transistors or volume )
herein demonstrate that massively parallel LPHDR designs compared with traditional architectures. Furthermore, refer
are in fact useful and provide significant practical benefits in ences herein to “ processing elements” within embodiments
at least several significant applications.                       of the present invention should be understood more gener
   To conclude, modern digital computing systems provide 10 ally as any kind of execution unit , whether for performing
high precision arithmetic , but that precision is costly . A LPHDR operations or otherwise .
modern double precision floating point multiplier may              An example SIMD computing system 100 is illustrated in
require on the order of a million transistors, even though FIG . 1. The computing system 100 includes a collection of
only a handful of transistors is required to perform a low        many processing elements (PEs ) . Sometimes present are a
precision multiplication. Despite the common belief among 15 control unit (CU) 106 , an 1/0 unit (IOU) 108 , various
those having ordinary skill in the art that modern applica        Peripheral devices 110 , and a Host computer 102. The
tions require high precision processing, in fact a variety of     collection of PEs is referred to herein as “ the Processing
useful algorithms function adequately at much lower preci Element Array ” (PEA) , even though it need not be two
sion . As a result, such algorithms may be performed by dimensional or an array or grid or other particular layout.
processors or other devices implemented according to 20 Some machines include additional components, such as an
embodiments of the present invention , which come closer to additional memory system called the “ Staging Memory” in
achieving the goal of using a few transistors to multiply and the Goodyear MPP, but these additional elements are neither
a wire junction to add , thus enabling massively parallel essential in the computer nor needed to understand embodi
arithmetic computation to be performed with relatively ments of the present invention and therefore are omitted here
small amounts of physical resources ( such as a single silicon 25 for clarity of explanation . One embodiment of the present
chip ). Although certain specialized tasks can function at low invention is a SIMD computing system of the kind shown in
precision, it is not obvious , and in fact has been viewed as FIG . 1 , in which one or more (e.g. , all ) of the PEs in the PEA
clearly false by those having ordinary skill in the art, that 104 are LPHDR elements, as that term is used herein .
relatively general purpose computing such as is typically            The Host 102 is responsible for overall control of the
performed today on general purpose computers can be done 30 computing system 100. It performs the serial, or mostly
at low precision . However, in fact a variety of useful and serial, computation typical of a traditional uni-processor.
important algorithms can be made to function adequately at The Host 102 could have more complicated structure , of
much lower than 32 bit precision in a massively parallel course , including parallelism of various sorts. Indeed a
computing framework , and certain embodiments of the heterogeneous computing system combining multiple com
present invention support such algorithms, thereby offering 35 puting architectures in a single machine is a good use for
much more efficient use of transistors, and thereby provide embodiments of the present invention.
improved speed, power, and / or cost , compared to conven            A goal of the Host 102 is to have the PEA 104 perform
tional computers.                                                 massive amounts of computation in a useful way. It does this
   Various computing devices implemented according to by causing the PEs to perform computations, typically on
embodiments of the present invention will now be 40 data stored locally in each PE , in parallel with one another.
described . Some of these embodiments may be an instance If there are many PEs , much work gets done during each unit
of a SIMD computer architecture . Other architectures may of time .
be used , such as MIMD architectures, programmable array             The PEs in the PEA 104 may be able to perform their
architectures ( such as FPGAs and FPGAs ), or GPU /SIMT individual computations roughly as fast as the Host 102
architectures. The techniques disclosed herein may, for 45 performs its computations. This means it may be inefficient
example, be implemented using any processor or other to have the Host 102 attempt to control the PEA 104 on a
device having such an existing architecture, and replacing or time scale as fine as the Host's or PEA's minimal time step .
augmenting some or all existing arithmetic units in the (This minimal time , in a traditional digital design, would be
processor or other device, if any, with LPHDR arithmetic the clock period .) For this reason , the specialized control
units in any of the ways disclosed herein . Devices imple- 50 unit (CU) 106 may be included in the architecture. The CU
mented according to embodiments of the present invention , 106 has the primary task of retrieving and decoding instruc
however, need not start with an existing processor design , tions from an instruction memory, which conceptually is part
but instead may be designed from scratch to include LPHDR of the CU 106 , and issuing the partially decoded instructions
arithmetic units within any of the architectures just to all the PEs in the PEA 104. (This may be viewed by the
described , or any other architecture .                        55 CU software as happening roughly simultaneously for all the
   Embodiments of the present invention may, for example, PEs , though it need not literally be synchronous, and in fact
be implemented using the architecture of a particular kind of it may be effective to use an asynchronous design in which
SIMD computer, the array processor. There are many varia          multiple instructions at different stages of completion simul
tions and specific instances of array processors described in taneously propagate gradually across the PEA , for instance
the scientific and commercial literature. Examples include 60 as a series of wave fronts .)
the Illiac 4 , the Connection Machine 1 and 2 , the Goodyear         In a design which includes the CU 106 , the Host 102
MPP, and the MasPar line of computers .                           typically will load the instructions ( the program ) for the
   Embodiments of the present invention need not, however, PEA 104 into the CU instruction memory ( not shown in FIG .
be implemented as SIMD computers. For example, embodi 1 ) , then instruct the CU 106 to interpret the program and
ments of the present invention may be implemented as 65 cause the PEA 104 to compute according to the instructions.
FPGAs, FPGAs, or related architectures that provide for The program may, for example, look generally similar to a
flexible connectivity of a set of processing elements. For typical machine language program , with instructions to
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cause data movement, logical operations, arithmetic opera           the available hardware resources . For these reasons , the
tions , etc. , in and between the PES and other instructions to     connections between the PES and the IOU 108 may be
do similar operations together with control flow operations         limited to those PEs at the edges of the PE array 104. In this
within the CU 106. Thus, the CU 106 may run a typical sort          case , to get data out of, and perhaps into , the PEA 104 , the
of program , but with the ability to issue massively parallel 5 data is read and written at the edges of the array and CU
instructions to the PEA 104 .                                      instructions are performed to shift data between the edges
  In order to get data into and out of the CU 106 and PEA and interior of the PEA 104. The design may permit data to
104 , the I/ O Unit 108 may interface the CU 106 and PEA be pushed from the IOU 108 inward to any PE in the array
104 with the Host 102 , the Host's memory (not shown in using direct connections, but may require readout to occur
FIG . 1 ) , and the system's Peripherals 110 , such as external 10 by using the CU 106 to shift data to the edges where it can
storage ( e.g. , disk drives), display devices for visualization
                                                              be read by the IOU 108 .
of the computational results, and sometimes special high        Connections between the CU 106 and PEA 104 have
bandwidth input devices (e.g. , vision sensors ) . The PEA's  analogous variations. One design may include the ability to
ability to process data far faster than the Host 102 makes it drive instructions into all the PEs roughly simultaneously,
useful for the IOU 108 to be able to completely bypass the 15 but another approach is to have the instructions flow gradu
Host 102 for some of its data transfers. Also , the Host 102 ally ( for instance, shift in discrete time steps ) across the PEA
may have its own ways of communicating with the Periph        104 to reach the PEs . Some SIMD designs , which may be
erals 110 .                                                   implemented in embodiments of the present invention , have
   The particular embodiment illustrated in FIG . 1 is shown a facility by which a “ wired - or ” or “wired -and ” of the state
merely for purposes of example and does not constitute a 20 of every PE in the PEA 104 can be read by the CU 106 in
limitation of the present invention . For example, alterna approximately one instruction delay time .
tively the functions performed by the CU 106 could instead            There are many well studied variations on these matters in
be performed by the Host 102 with the CU 106 omitted . The the literature, any of which may be incorporated into
CU 106 could be implemented as hardware distant from the embodiments of the present invention . For example, an
PEA 104 (e.g. , off - chip ), or the CU 106 could be near to the 25 interconnect, such as an 8 -way local interconnect, may be
PEA 104 (e.g. , on - chip ) . I /O could be routed through the CU
                                                               used . The local connections may include a mixture of
106 with the IOU 108 omitted or through the separate I /O      various distance hops, such as distance 4 or 16 as well as
unit 108 , as shown . Furthermore, the Host 102 is optional ;  distance 1. The outside edges may be connected using any
the CU 106 may include , for example, a CPU , or otherwise topology , such as a torus or twisted torus. Instead of or in
include components sufficient to replace the functions per- 30 addition to a local interconnect, a more complex global
formed by the Host 102. The Peripherals 110 shown in FIG . interconnect, such as the hypercube design , may be used .
1 are optional. The design shown in FIG . 1 could have a Furthermore, the physical implementation of the PEA 104
special memory, such as the Goodyear MPP's " staging (e.g. , a chip ) could be replicated (e.g. , tiled on a circuit
memory," which provides an intermediate level of local board ) to produce a larger PEA . The replication may form a
storage. Such memory could , for example, be bonded to the 35 simple grid or other arrangement, just as the component
LPHDR chip using 3D fabrication technology to provide PEAs may but need not be grids.
relatively fast parallel access to the memory from the PEs in       FIG . 4 shows an example design for a PE 400 (which may
the PEA 104 .                                                    be used to implement any one or more of the PEs in the PEA
   The PEA 104 itself, besides communicating with the CU 104 ) . The PE 400 stores local data . The amount of memory
106 and IOU 108 and possibly other mechanisms, has ways 40 for the local data varies significantly from design to design .
for data to move within the array . For example, the PEA 104 It may depend on the implementation technologies available
may be implemented such that data may move from PEs for fabricating the PE 400. Sometimes rarely changing
only to their nearest neighbors, that is , there are no long values ( Constants ) take less room than frequently changing
distance transfers. FIGS . 2 and 3 show embodiments of the values (Registers ) , and a design may provide more Con
present invention which use this approach , where the nearest 45 stants than Registers . For instance , this may be the case with
neighbors are the four adjacent PEs toward the North , East , digital embodiments that use single transistor cells for the
West, and South , called a NEWS design. For example, FIG . Constants ( e.g. , floating gate Flash memory cells ) and mul
2 shows a subset of the PEs in PEA 104 , namely PE 202 , PE tiple transistor cells for the Registers (e.g. , 6 - transistor
204 , PE 206 , PE 208 , and PE 210. When the CU 106 issues SRAM cells ) . Sometimes the situation is reversed , as may be
data movement instructions, all the PEs access data from or 50 the case in analog embodiments , where substantial area for
send data to their respective specified nearest neighbor. For       capacitance may be needed to ensure stable long term
instance, every PE might access a specified data value in its storage of Constants , and such embodiments may have more
neighbor to the West and copy it into its own local storage. Registers than Constants . Typical storage capacities might
In some embodiments , such as some analog embodiments , be tens or hundreds of arithmetic values stored in the
these kinds of transfers may result in some degradation of 55 Registers and Constants in each PE , but these capacities are
the value copied.                                                adjustable by the designer. Some designs, for instance , may
   FIG . 3 shows a PE 302 that includes data connections to have Register storage but no Constant storage. Some designs
the IOU 108. PE 302 is connected the North to PE 304 , may have thousands or even many more values stored in
at the East to PE 306 , at the South to PE 308 , and at the West each PE . All of these variations may be reflected in embodi
to PE 310. However, driving signals from inside the PEA 60 ments of the present invention .
104 out to the IOU 108 usually requires a physically               Each PE needs to operate on its local data . For this reason
relatively large driving circuit or analogous mechanism . within the PE 400 there are data paths 402a - i , routing
Having those at every PE may absorb much of the available mechanisms ( such as the multiplexor MUX 404 ) , and com
resources of the hardware implementation technology ( such ponents to perform some collection of logical and arithmetic
as VLSI area ). In addition , having independent connections 65 operations ( such as the logic unit 406 and the LPHDR
from every PE to the IOU 108 means many such connec arithmetic unit 408 ) . The LPHDR arithmetic unit 408 per
tions , and long connections, which also may absorb much of forms LPHDR arithmetic operations, as that term is used
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herein . The input, output, and intermediate " values " example . As a result, a value , say B , is represented by its sign
received by, output by, and operated on by the PE 400 may, and a base 2 logarithm , say b , of its absolute value . For
for example , take the form of electrical signals representing numbers to have representation errors of at most , say, 1 %
numerical values .                                              (one percent ), the fractional part of this logarithm should be
   The PE 400 also may have one or more flag bits , shown 5 represented with enough precision that the least possible
as Mask 410 in FIG . 4. The purpose of the Mask 410 is to change in the fraction corresponds to about a 1 % change in
enable some PEs , the ones in which a specified Mask bit is the value B. If fractions are represented using 6 bits ,
set, to ignore some instructions issued by the CU 106. This increasing or decreasing the fraction by 1 corresponds to
allows some variation in the usual lock - step behaviors of all multiplying or dividing B by the 64th root of 2 , which is
PEs in the PEA 104. For instance, the CU 106 may issue an 10 approximately 1.011 . This means that numbers may be
instruction that causes each PE to reset or set its Mask 410 represented in the present embodiment with a multiplicative
depending on whether a specified Register in the PE is error of approximately 1 % . So , in this example embodiment
positive or negative. A subsequent instruction , for instance the fraction part of the representation has 6 bits.
an arithmetic instruction , may include a bit meaning that the    Furthermore, the space of values processed in the present
instruction should be performed only by those PEs whose 15 embodiment have high dynamic range. To represent num
Mask 410 is reset. This combination has the effect of bers whose absolute value is from , say, one billionth to one
conditionally performing the arithmetic instruction in each       billion , the integer part of the logarithm must be long enough
PE depending on whether the specified Register in that PE         to represent plus or minus the base 2 logarithm of one
was positive . As with the Compare instructions of traditional    billion . That logarithm is about 29.9 . In the present embodi
computers , there are many possible design choices for 20 ment the integer part of the logarithm representation is 5 bits
mechanisms to set and clear Masks .                               long to represent values from 0 to 31 , which is sufficient.
   The operation of the PEs is controlled by control signals There also is a sign bit in the exponent. Negative logarithms
412a - d received from the CU 106 , four of which are shown are represented using two's complement representation .
in FIG . 4 merely for purposes of example and not limitation .      In an LNS , the value zero corresponds to the logarithm
We have not shown details of this mechanism , but the 25 negative infinity. One can choose a representation to explic
control signals 412a - d specify which Register or Constant itly represent this special value . However, to minimize
memory values in the PE 400 or one of its neighbors to send resources ( for instance , area ) used by arithmetic circuits , the
to the data paths, which operations should be performed by present embodiment represents zero by the most negative
the Logic unit 406 or LPHDR Arithmetic Unit 408 or other possible logarithm , which is -32 , corresponding to the two's
processing mechanisms, where the results should be stored 30 complement bit representation ‘ 100000 000000 ' , and denot
in the Registers , how to set , reset, and use the Mask 410 , and ing a value of approximately 2.33E - 10 .
so on . These matters are well described in the literature on       When computing, situations can arise in which operations
SIMD processors.                                                  cannot produce reasonable values . An example is when a
   Many variations of this PE 400 and PEA design are number is too large to be represented in the chosen word
possible and fall within the scope of the present invention . 35 format, such as when multiplying or adding two large
Digital PEs can have shifters, lookup tables, and many other numbers or upon divide by zero (or nearly zero ). One
mechanisms such as described in the literature. Analog PEs common approach to this problem is to allow a value to be
can have time - based operators , filters, comparators with marked as Not A Number (NAN ) and to make sure that each
global broadcast signals and many other mechanisms such operation produces NAN if a problem arises or if either of
as described in the literature. The PEA 104 can include 40 its inputs is NAN . The present embodiment uses this
global mechanisms such as wired -OR or wired - AND for approach, as will be described in the following.
digital PEAs or wired -SUM for analog PEAs . Again , there         FIG . 5 shows the word format 500 for these numbers, in
are many variations well described in the literature on digital the present embodiment. It has one NAN bit 502a , one bit
and analog computing architectures.                             502b for the sign of the value , and 12 bits 502c - e represent
   For example, LPHDR operations other than and / or in 45 ing the logarithm . The logarithm bits include a 5 bit integer
addition to addition and multiplication may be supported. part 502d and a 6 bit fraction part 502e . To permit the
For example, a machine which can only perform multipli logarithms to be negative , there is a sign bit 502c for the
cation and the function ( 1 - X ) may be used to approximate logarithm which is represented in two's complement form .
addition and other arithmetic operations. Other collections The NAN bit is set if some problem has arisen in computing
of LPHDR operations may be used to approximate LPHDR 50 the value . The word format 500 shown in FIG . 5 is merely
arithmetic operations, such as addition, multiplication, sub an example and does not constitute a limitation of the
traction , and division , using techniques that are well-known present invention . Other variations may be used , so long as
to those having ordinary skill in the art .                     they have low precision and high dynamic range.
   One aspect of embodiments of the present invention that         FIG . 6 shows an example digital implementation of the
is unique is the inclusion of LPHDR arithmetic mechanisms 55 LPHDR arithmetic unit 408 for the representation illustrated
in the PEs . Embodiments of such mechanisms will now be in FIG . 5. The unit 408 receives two inputs, A 602a and B
described .                                                     602b , and produces an output 602c . The inputs 602a - b and
   One digital embodiment of the LPHDR arithmetic unit output 602c may, for example, take the form of electrical
408 operates on digital ( binary ) representations of numbers . signals representing numerical values according to the rep
In one digital embodiment these numbers are represented by 60 resentation illustrated in FIG . 5 , as is also true of signals
their logarithms. Such a representation is called a Logarith    transmitted within the unit 408 by components of the unit
mic Number System (LNS ) , which is well- understood by 408. The inputs 602a - b and output 602c each are composed
those having ordinary skill in the art.                         of a Value and a NAN (Not A Number) bit . The unit 408 is
   In an LNS, numbers are represented as a sign and an            controlled by control signals 412a - d, coming from the CU
exponent. There is an implicit base for the logarithms, 65 106 , that determine which available arithmetic operation
typically 2 when working with digital hardware . In the           will be performed on the inputs 602a - b . In this embodiment,
present embodiment, a base of 2 is used for purposes of           all the available arithmetic operations are performed in
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parallel on the inputs 602a - b by adder / subtractor 604 , mul cause the MASK 410 in each PE to unconditionally reset or
tiplier 606 , and divider 608. Adder / subtractor 604 performs set its flag along with other instructions to perform basic
LPHDR addition and subtraction , multiplier 606 performs test values entering thMK40ndata path42
LPHDR multiplication, and divider 608 performs LPHDR and to set the flag accordingly. Examples of these latter
division .                                                        5 instructions include copying the sign bit or NAN bit of the
   The desired result ( from among the outputs of adder / word data path02t the MAKb41.Another
subtractor 604 , multiplier 606 , and divider 608 ) is chosen by example is to set the MASK bit 410 if the 12 bit value part
the multiplexers (MUXes ) 610a and 6106. The right hand of the word on data path 402f is equal to binary zero . There
MUX 610b sends the desired value to the output 602c . The are many additional and alternative ways for doing this that
left hand MUX 610a sends the corresponding NAN bit from 10 are directly analogous to comparison instructions in tradi
the desired operation to the OR gate 612 , which outputs a set tional processors and which are well understood by those
NAN bit if either input is NAN or if the specified arithmetic skilled in the art.
operation yields NAN . The computing architecture literature           It is worth noting that while the obvious method of using
discusses many variations which may be incorporated into the above LNS operations is to do LPHDR arithmetic , the
the embodiment illustrated in FIG . 6 .                          15 programmer also may consider selected values to be 12 bit
   LNS arithmetic has the great advantage that multiplica t's complement binary numbers . Mamay be
tion (MUL) and division ( DIV) are very easy to compute and used to add and subtract such values , since that is precisely
take few physical resources ( e.g. , little area in a silicon their behavior in LNS implementations. The Mask setting
implementation ). The sign of the result is the exclusive - or of instructions can compare these simple binary values . So
the signs of the operands. The logarithm part of the output 20 besides doing LPHDR computations, this digital embodi
is the sum , in the case of MUL , or the difference, in the case ment using LNS can perform simple binary arithmetic on
of DIV , of the logarithm parts of the operands. The sum or short signed integers.
difference of the logarithms can overflow , producing a NAN            Some embodiments of the present invention may include
result . Certain other operations also are easy in LNS arith analog representations and processing methods. Such
metic . For instance , square root corresponds to dividing the 25 embodiments may, for example , represent LPHDR values as
logarithm in half, which in our representation means simply charges, currents , voltages, frequencies, pulse widths, pulse
shifting it one bit position to the right.                          densities, various forms of spikes , or in other forms not
   Thus, the multiplier 606 and divider 608 in FIG . 6 are characteristic of traditional digital implementations. There
implemented as circuits that simply add or subtract their are many such representations discussed in the literature ,
inputs, which are two's complement binary numbers (which 30 along with mechanisms for processing values so repre
in turn happen to be logarithms ). If there is overflow , they sented . Such methods, often called Analog methods, can be
output a 1 for NAN .                                                used to perform LPHDR arithmetic in the broad range of
  Implementing addition and subtraction in LNS, that the architectures we have discussed , of which SIMD is one
adder /subtractor 604 in FIG . 6 , follows a common approach example .
used in the literature on LNS . Consider addition . If we have 35 An example of an analog SIMD architecture is the
two positive numbers B and C represented by their loga SCAMP design ( and related designs) of Dudek . In that
rithms b and c , the representation of the sum of B and C is design values have low dynamic range, being accurate
log (B + C ) . An approach to computing this result that is well roughly to within 1 % . Values are represented by charges on
known to those skilled in the art is based on noticing that capacitors. Those capacitors typically are the gates of tran
log ( B + C ) = log ( B * ( 1 + C / B ) ) = log ( B ) + log ( 1 + C / B ) = b + F ( c - b ) 40 sistors . Each PE has several memory cells , analogous to the
where F (x ) =log ( 1 + 2 ^ x ) . Thus, the present embodiment com                             Registers shown in FIG . 4. Addition is performed by turning
putes c -b , feeds that through F , and adds the result to b ,                                   n pass transistors from the prand , which transfer
using standard digital techniques known to those skilled in their charge onto an analog bus , where it is summed by the
the art .                                                                                      natural physics of charge and wires, upon which it is gated
   Much of the published literature about LNS is concerned 45 onto another Register to charge up its capacitor, which then
with how to compute F (x) , the special function for ADD , represents the sum of the operands. The detailed mechanism
along with a similar function for SUB . Often these two disclosed by Dudek actually produces the negative of the
functions share circuitry, and this is why a single combined sum , but the basic concept is as described and is a simple
adder / subtractor 604 is used in the embodiment of FIG . 6 . way to performation and subtraction using analog rep
There are many published ways to compute these functions 50 resentations and simple processing mechanisms.
or approximations to them , including discussions of how to                                       Variations of the SCAMP design have been fabricated and
do this when the values are of low precision . Any such used to perform a range of low precision , low dynamic range
method, or other method , may be used . Generally speaking , computations related to image processing. These designs do
the more appropriate variations for massively parallel not perform high dynamic range arithmetic, nor do they
LPHDR arithmetic are those that require the minimal use of 55 include mechanisms for performing multiplication or divi
resources , such as circuit area , taking advantage of the fact                  sion of values stored in Registers. However, the Dudek
that the representation used in the embodiment of FIG . 6 is                     designs suggest the general feasibility of constructing analog
low precision and that the arithmetic operations need not be SIMD machines . The following describes how to build an
deterministic nor return the most accurate possible answer analog SIMD machine that performs LPHDR arithmetic ,
within the low precision representation. Thus, embodiments 60 and is thus an embodiment of the present invention .
of the present invention may use circuitry that does not        One embodiment of the present invention represents
compute the best possible answer, even among the limited values as a mixture of analog and digital forms. This
choices available in a low precision representation .         embodiment represents values as low precision, normalized ,
   In order to enable conditional operation of selected PEs , base 2 floating point numbers, where the mantissa is an
the present embodiment is able to reset and set the MASK 65 analog value and the exponent is a binary digital value . The
flag 410 based on results of computations. The mechanism analog value may be accurate to about 1 % , following the
for doing this is that the CU 106 includes instructions that approach of Dudek , which is well within the range of
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reasonable analog processing techniques . The exponent may         analog mantissa current, are straightforward operations well
be 6 bits long , or whatever is needed to provide the desired       known to those skilled in the art.
high dynamic range .                                                 The present embodiment represents the exponent as a
   To multiply values , the embodiment proceeds by analogy digital binary number. Alternate embodiments may represent
to traditional floating point methods. The digital exponents 5 the exponent as an analog value . However, it is important
are summed using a binary arithmetic adder, a standard that the exponent be represented in storage and computation
digital technique. The analog mantissas are multiplied . Since in such a manner that neither noise nor other errors cause a
they represent normalized values between approximately 1/2 change in the value it represents. Such changes in the
and 1 , their product may be as small as approximately 14 . exponent could introduce factors of two (or in some embodi
Such a product value needs to be normalized back to the 10 ments larger) changes in the values of the stored numbers .
range 1/2 to 1. This is done, in the present embodiment, by To maintain accuracy of the exponents, an embodiment may
comparing the analog mantissa to an analog representation quantize the exponent to relatively few levels, for instance
of 1/2, using a threshold circuit . If the mantissa is below 112 , 16 values plus a sign bit . During processing , slight variations
then it is doubled and one is subtracted from the exponent, in the analog representation of the exponent may then be
where such subtraction is simple digital subtraction . Dou- 15 removed by circuitry that restores values to the 16 standard
bling the mantissa is implemented in a way that corresponds quantization levels . To get sufficient dynamic range in such
to the chosen analog representation. For example, whatever an embodiment, the floating point numbers may be pro
means are being used to add two analog values can be used           cessed as base 4 numbers , rather than the usual base 2
to double the mantissa, by adding it to a copy of itself. For       numbers. This means , for instance, that normalized mantis
example, if the mantissa is represented as a current, such as 20 sas are in the range 1/4 to 1. The methods discussed above for
copy may be produced by a current mirror, or other suitable addition , subtraction , and multiplication apply as described ,
mechanism   , and addition may be performed by a current with slight and straightforward variations.
summing junction .                                                  The analog and mixed signal embodiments discussed
   The means of multiplying the original analog mantissas above are merely examples and do not constitute a limitation
depends on the representation chosen . For example, if 25 of the present invention . The published literature on neuro
mantissas are represented using charge, following SCAMP, morphic , analog, and mixed signal techniques provides a
then any known method from the literature may be used to wealth of methods that enable LPHDR storage and process
convert charge to current. For instance, since the charge on ing to be implemented . Such storage and processing may
a capacitor determines the voltage on the capacitor, this may introduce noise as well as fabrication errors into the behav
be implemented as a conversion from voltage to current, 30 ior of machines performing LPHDR arithmetic. The results
which is a basic technique in analog electronics known to we present below , on software applications running using
those skilled in the art. In any case , if the mantissas are “ fp + noise ” arithmetic , show that despite these very " un
represented as currents , or once the mantissas are converted digital” qualities a machine built in this way is surprisingly
to currents, they may be multiplied using, for instance , the useful.
techniques of Gilbert. The Gilbert multiplier produces a 35 Evidence that LPHDR arithmetic is useful in several
current, representing the product, which may , if necessary ,       important practical computing applications will now be
then be converted back to charge ( or whatever representa           provided . The evidence is presented for a broad variety of
tion is used ). These are merely examples of how the needed         embodiments of the present invention, thereby showing that
operations might be performed . The literature discusses            the usefulness does not depend much on the detailed imple
these matters extensively and these kinds of analog circuits 40 mentation .
are known to those skilled in the art.                           For the goal of showing usefulness, we choose a very
    Adding and subtracting values requires pre -normalization general embodiment of an LPHDR machine . Our model of
of the values to the same exponent, as is done in traditional the machine is that it provides at least the following capa
digital floating point arithmetic. The present embodiment bilities: ( 1 ) is massively parallel , ( 2 ) provides LPHDR
does this by comparing the exponents and choosing the 45 arithmetic possibly with noise , (3 ) provides a small amount
smaller one . Then the smaller one is subtracted from the of memory local to each arithmetic unit, ( 4 ) provides the
larger, using digital means . The difference specifies how arithmetic /memory units in a two - dimensional physical lay
many times the mantissa which corresponds to the smaller out with only local connections between units (rather than
exponent needs to be divided in half. If that mantissa is some more powerful, flexible, or sophisticated connection
represented by (or converted to ) a current, then an analog 50 mechanism ), and ( 5 ) provides only limited bandwidth
R - 2R style ladder may be used to divide the current in half between the machine and the host machine . Note that this
the required number of times , with the stage of the ladder model is merely an example which is used for the purpose
specified by the difference of exponents calculated as above. of demonstrating the utility of various embodiments of the
The resulting scaled down current is added to ( or subtracted present invention , and does not constitute a limitation of the
from , if this is an LPHDR subtraction operation ) the current 55 present invention . This model includes , among others,
corresponding to the mantissa associated with the larger implementations that are digital or analog or mixed , have
exponent to yield the output mantissa . The output exponent zero or more noise , have architectures which are FPGA - like,
associated with the output mantissa is the larger exponent. or SIMD - like, or MIMD - like, or otherwise meet the assump
Post -normalization may be needed at this point. If the output tions of the model . More general architectures, such as
mantissa is greater than 1 , then it needs to be divided in half 60 shared memory designs , GPU - like designs , or other sophis
and the output exponent needs to be incremented . If it is less ticated designs subsume this model's capabilities, and so
than 1/2, then it needs to be doubled enough times to exceed LPHDR arithmetic in those architectures also is useful.
1/2 and the output exponent must be decremented corre While we are thus showing that LPHDR arithmetic is useful
spondingly, which may be performed by a series of threshold for a broad range of designs, of which SIMD is only an
circuits , doubler circuits, and associated decrementer cir- 65 instance , for purpose of discussion below , we call each unit,
cuits . These increments and decrements of the binary digital which pairs memory with arithmetic , a Processing Element
exponent, and corresponding doublings and halvings of the           or " PE " .
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   Several applications are discussed below . For each, the           database . We would like to know whether any vector from
discussion shows ( 1 ) that the results are useful when com           the snippet was close to any vector from the database , which
putation is performed in possibly noisy LPHDR arithmetic,             NN can help us decide .
and (2 ) that the computation can be physically laid out in      In many applications of nearest neighbor, we would prefer
two dimensions with only local flow of data between units , 5 to find the true nearest neighbor but it is acceptable if we
only limited memory within each unit , and only limited data sometimes find another neighbor that is only slightly farther
flow to / from the host machine , in such a way that the Thus away or if we almost always find the true nearest neighbor.
                                                                    , an approximate solution to the nearest neighbor prob
computation makes efficient use of the machine's resources lem is useful, especially if it can be computed especially
( area , time , power ). The first requirement is referred to as quickly , or at low power, or with some other advantage
“ Accuracy ” and the second requirement “ Efficiency . ” Appli 10 compared  to an exact solution .
cations that meet both requirements running in this model           We shall now show that approximate nearest neighbor is
will function well on many kinds of LPHDR machines , and computable using embodiments of the present invention in
thus those machines are a broadly useful invention.
   Applications are tested using two embodiments for the 15 a way  that meets the criteria of Accuracy and Efficiency.
                                                               Algorithm .
machine's arithmetic. One uses accurate floating point arith   The following describes an algorithm which may be
metic but multiplies the result of each arithmetic operation performed by machines implemented according to embodi
by a uniformly chosen random number between 0.99 and ments of the present invention , such as by executing soft
1.01 . In the following discussion , this embodiment is          ware including instructions for performing the algorithm .
denoted “ fp +noise ". It may represent the results produced by 20 The inputs to the algorithm are a set of Examples and a Test
an analog embodiment of the machine.                             vector. The algorithm seeks to find the nearest ( or almost
   A second embodiment uses logarithmic arithmetic with a nearest) Example to the Test.
value representation as shown in FIG . 5. The arithmetic is         In the simplest version of the algorithm , the number of
repeatable, that is , not noisy, but because of the short Examples may be no larger than the number of PEs and each
fraction size it produces errors of up to approximately 1-2 % 25 vector must be short enough to fit within a single PE's
in each operation. In the following discussion, this embodi memory . The Examples are placed into the memories asso
ment is denoted “ Ins ” . It may represent the results produced ciated with the PEs , so that one Example is placed in each
by a particular digital embodiment of the machine .              PE . Given a Test, the Test is passed through all the PEs , in
   To demonstrate usefulness of embodiments of the inven         turn . Accompanying the Test as it passes through the PEs is
tion, we shall discuss three computational tasks that are 30 the      distance from the Test to the nearest Example found so
enabled by embodiments of the invention and which in turn whatalong
                                                                 far,       with information that indicates what PE ( and thus
enable a variety of practical applications . Two of the tasks Each Example
                                                                         PE
                                                                                 ) yielded that nearest Example found so far.
                                                                            computes   the distance between the Test and the
are related to finding nearest neighbors and the other is Example stored in that          PE's memory, and then passes along
related to processing visual information . We shall describe 35 the Test together with either
the tasks , note their practical application, and then demon was passed into this PE ( if thethedistance
                                                                                                    distance and indicator that
                                                                                                          computed by this PE
strate that each task is solvable using the general model             exceeded the distance passed into the PE ) or the distance this
described above and thus solvable using embodiments of the          PE computed along with information indicating this PE's
present invention.                                                  Example is the nearest so far ( if the distance computed by
         Application 1 : Finding Nearest Neighbors               40 this PE is less than the distance passed into the PE ) . Thus,
                                                                    the algorithm is doing a simple minimization operation as
                                                                    the Test is passed through the set of PEs . When the Test and
   Given a large set of vectors , called Examples, and a given associated information leave the last PE , the output is a
vector, called Test, the nearest neighbor problem (“ NN ” ) is representation of which PE ( and Example) was closest to the
to find the Example which is closest to Test where the 45 Test, along with the distance between that Example and the
distance metric is the square of the Euclidean distance ( sum Test .
of squares of distances between respective components ).               In a more efficient variant of this algorithm , the Test is first
   NN is a widely useful computation. One use is for data passed along , for example, the top row, then every column
compression, where it is called “ vector quantization ” . In this passes the Test and associated information downward, effec
application we have a set of relatively long vectors in a 50 tively doing a search in parallel with other columns, and
" code book ” ( these are the Examples ) and associated short         once the information reaches the bottom it passes across the
code words ( for instance the index of the vector in the code         bottom row computing a minimum distance Example of all
book) . We move through a sequence of vectors to be                   the columns processed so far as it passes across the row. This
compressed , and for each such vector ( Test ), find the nearest      means that the time required to process the Test is propor
vector in the code book and output the corresponding code 55 tional to ( the greater of) the number of PEs in a row or
word . This reduces the sequence of vectors to the shorter            column .
sequence of code words. Because the code words do not                    An enhancement of this algorithm proceeds as above but
completely specify the original sequence of vectors , this is computes and passes along information indicating both the
a lossy form of data compression . Among other applications, nearest and the second nearest Example found so far. When
it may be used in speech compression and in the MPEG 60 this information exits the array of PEs , the digital processor
standards.                                                    that is hosting the PE array computes (in high precision) the
   Another application of NN would be in determining distance between the Test and the two Examples indicated
whether snippets of video occur in a large video database. by the PE array, and the nearer of the two is output as the
Here we might abstract frames of video from the snippet into likely nearest neighbor to the Test.
feature vectors , using known methods, such as color histo- 65 Accuracy.
grams, scale invariant feature extraction, etc. The Examples    We expressed the arithmetic performed by the enhanced
would be analogous feature vectors extracted from the video           algorithm described above as code in the C programming
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language . That code computes both nearest neighbors,            Run 10. On 100 tests , 99 ( 99.0 % ) matches and 0.86 %
which are discussed here , along with weighted scores , which       mean score error.
are discussed below.                                             Average percentage of time LPHDR (with final DP cor
   The C code performs the same set of arithmetic operations        rection ) finds nearest example = 99.90 % .
in the same order using the same methods of performing 5 Average score error between LPHDR and DP = 0.85 % .
arithmetic as an actual implementation of the present inven      The “ mean score error" values are considered below in
tion, such as one implemented in hardware. It thus yields the the  discussion of weighted scores . The “ matches ” informa
same results as the enhanced algorithm would yield when tionOfistherelevant      here .
running on an implementation of the present invention . 10 performed, which ,yielded
                                                                         ten  runs   only one had any test , of the 100 tests
                                                                                               a nearest neighbor different from
( How the algorithm is organized to run efficiently on such an what the usual high precision           method yielded . Thus , the
implementation is discussed below in the section on Effi average percentage of matches between                 the enhanced algo
ciency .)                                                      rithm  running   with    “ fp + noise ”  arithmetic  and the usual
   In particular, when computing the distance between the method was 99.9 % .
Test and each Example , the code uses Kahan's method, 15 A similar computation was then performed using “ Ins ”
discussed below , to perform the possibly long summation arithmetic . In this case , the results were :
required to form the sum of the squares of the distances           % / a . out 5 10 1000000 1000
between vector components of the Test and Example.                 Representation is LNS without noise .
    The C code contains several implementations for arith          Run 1. On 100 tests , 100 ( 100.0 % ) matches and 0.15 %
metic , as discussed above. When compiled with " # define 20         mean score error.
fp ” the arithmetic is done using IEEE standard floating           Run 2. On 100 tests , 100 ( 100.0 % ) matches and 0.07 %
point. If a command line argument is passed in to enable             mean score error.
noisy arithmetic , then random noise is added to the result of     Run 3. On 100 tests , 100 ( 100.0 % ) matches and 0.08 %
every calculation . This is the “ fp + noise ” form of arithmetic.   mean score error.
When compiled without “ # define fp ” the arithmetic is done 25 Run 4. On 100 tests , 100 ( 100.0 % ) matches and 0.09 %
using low precision logarithmic arithmetic with a 6 bit              mean score error .
base - 2 fraction . This is the “ Ins” form of arithmetic .        Run 5. On 100 tests , 100 ( 100.0 % ) matches and 0.11 %
    When the code was run it produced traces showing the             mean score error.
results of the computations it performed . These traces,              Run 6. On 100 tests , 100 ( 100.0 % ) matches and 0.16 %
shown below, show that with certain command line argu- 30               mean score error.
ments the enhanced algorithm yielded certain results for              Run 7. On 100 tests , 100 ( 100.0 % ) matches and 0.07 %
LPHDR nearest neighbor calculations . These results provide              mean score error.
details showing the usefulness of this approach . We shall            Run 8. On 100 tests , 100 ( 100.0 % ) matches and 0.13 %
discuss the results briefly here .                                       mean score error.
   The first results are for “ fp + noise ” . Ten distinct runs were 35 Run 9. On 100 tests , 99 ( 99.0 % ) matches and 0.17 % mean
performed . Each run generated one million random Example                   score error.
vectors of length five, where each component of each vector              Run 10. On 100 tests , 98 ( 98.0 % ) matches and 0.16 %
was drawn from N (0,1 )—the Gaussian ( normal) distribution                 mean score error.
with mean zero and standard deviation 1. Each run then                   Average percentage of time LPHDR (with final DP cor
generated one hundred Test vectors of length five, where 40                 rection ) finds nearest example = 99.70 % .
each component of each vector also was drawn from N ( 0,1 ) .            Average score error between LPHDR and DP =0.12 % .
For each Test, the nearest neighbor was computed both                    The average percentage of matches was 99.7 % , slightly
according to the enhanced algorithm above and according to worse than for “ fp + noise ”.
the standard nearest neighbor method using high precision                The accuracy shown by the enhanced nearest neighbor
floating point arithmetic . A count was kept of the number of 45 algorithm using two forms of LPHDR arithmetic is surpris
times the enhanced algorithm yielded the same result as the ing . To perform many calculations sequentially with 1 %
standard floating point method . The results were as follows: error and yet produce a final result with less than 1 % error
   % / a . out 5 10 1000000 100 1                                      may seem counter - intuitive. Nonetheless, the LPHDR arith
   Representation is Floating Point with noise.                        metic proves effective, and the accuracy shown is high
  Run 1. On 100 tests , 100 ( 100.0% ) matches and 0.81 % 50 enough to be useful in applications for which approximate
    mean score error.                                        nearest neighbor calculations are useful.
  Run 2. On 100 tests , 100 ( 100.0% ) matches and 0.84 %       As an extreme case , a variant of fp + noise was tested in
    mean score error.                                        which the noise varied uniformly from + 10% to -5 % . Thus,
  Run 3. On 100 tests , 100 ( 100.0% ) matches and 0.98 % each arithmetic operation produced a result that was
    mean score error.                                     55 between 10 % too large and 5 % too small . The enhanced
  Run 4. On 100 tests , 100 ( 100.0% ) matches and 0.81 % nearest neighbor algorithm , as described above , was per
     mean score error .                                             formed where each run generated 100,000 Example vectors .
  Run 5. On 100 tests , 100 ( 100.0% ) matches and 0.94 %           The surprising results , below , show that even with this
    mean score error.                                        extreme level of imprecise, noisy, and non - zero mean
  Run 6. On 100 tests , 100 ( 100.0% ) matches and 0.82 % 60 LPHDR arithmetic, useful results can be achieved .
    mean score error .                                       Run 1. On 100 tests , 97 ( 97.0 % ) matches.
  Run 7. On 100 tests , 100 ( 100.0% ) matches and 0.78 % Run 2. On 100 tests , 100 ( 100.0 % ) matches .
    mean score error.                                        Run 3. On 100 tests , 100 ( 100.0 % ) matches .
  Run 8. On 100 tests , 100 ( 100.0% ) matches and 0.86 % Run 4. On 100 tests , 98 ( 98.0 % ) matches.
    mean score error.                                    65 Run 5. On 100 tests , 98 ( 98.0 % ) matches.
  Run 9. On 100 tests , 100 ( 100.0% ) matches and 0.85 % Run 6. On 100 tests , 99 ( 99.0 % ) matches.
    mean score error.                                       Run 7. On 100 tests , 99 ( 99.0 % ) matches .
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Ru80tests,                  0.0 % matches.                          uniformly from the range [ 0,1 ] . The weight for each
Run 9. On 100 tests , 99 ( 99.0 % ) matches .                       Example in this computation is defined to be the un
Run 10. On 100 tests , 99 ( 99.0 % ) matches .                      normalized weight for the Example divided by the sum of
Average percentage of time LPHDR (with final DP correc               the un -normalized weights for all Examples, where the
tion ) finds nearest example = 98.80 % .                           5 un - normalized weight for each Example is defined to be the
   Efficiency.                                                       reciprocal of the sum of one plus the squared distance from
   In contrast to the surprising Accuracy results , it is clear to the Example to the Test vector. As discussed above , the code
those having ordinary skill in the art that the calculations of performs a number of runs, each producing many Examples
the enhanced nearest neighbor algorithm can be performed and Tests, and compares results of traditional floating point
efficiently in the computing model presented, where the 10 computations with results calculated using fp + noise and Ins
arithmetic /memory units are connected in a two-dimen                arithmetic .
sa physical ayut, using                     local communication        Looking again at the trace results of running the simula
between PE.However, this does not address the matter of tion , above , we see that for fp + noise the LPHDR weighted
keeping the machine busy doing useful work using only low scores on average were within 0.85 % of the correct value
bandwidth to the host machine .                                   15 and never were as much as 1 % different. For ins arithmetic
   When computing the nearest neighbor to a single Test, the the errors were even smaller, averaging just 0.12 % error.
Test flows across all the PEs in the array . As discussed               These results are surprising given that computing an
above , if the array is an MxM grid, it takes at least O ( M) overall weighted score involves summing the individual
steps for the Test to pass through the machine and return weighted scores associated with each Example. Since each
results to the host. During this time the machine performs 20 run was processing 1,000,000 Examples, this means that the
O ( MxM ) nearest neighbor distance computations, but since sums were over one million small positive values . The naive
the machine is capable of performing O (MxM) calculations method of summing one million small values with errors of
at each step , a factor of O (M ) is lost .                          about 1 % in each addition should yield results that approxi
   This speedup, compared to a serial machine , of a factor of mate noise . However, the code performs its sums using a
O ( M) is significant and useful. However, the efficiency can 25 long known method invented by Kahan (Kahan , William
be even higher. If sufficiently many Test vectors , say O (M) , ( January 1965 ) , “ Further remarks on reducing truncation
or more , are to be processed then they can be streamed into errors ” , Communications of theACM 8 ( 1 ) : 40 ) . The method
the machine and made to flow through in a pipelined makes it feasible to perform long sums, such as are done for
fashion. The time to process O ( M) Tests remains O (M) , the Distance Weighted Scores , or as might be used in compu
same as for a single Test, but now the machine performs 30 tational finance when computing prices of derivative secu
O ( M ) xO ( MxM ) distance computations, and thus within a rities using Monte Carlo methods, or for performing decon
constant factor the full computing capacity of the machines volution in image processing algorithms, as will be
used .                                                                discussed next.
   Thus, the machine is especially efficient if it is processing         The Efficiency of this algorithm is similar to that of NN ,
at least as many Test vectors as the square root of the number 35 as discussed earlier. If many Test vectors are processed at
of PEs . There are applications that fit well into this form , once, the machine performs especially efficiently.
such as pattern recognition or compression of many inde
pendent Tests ( e.g. , blocks of an image , parts of a file, price          Application 3 : Removing Motion Blur in Images
histories of independent stocks ) as well as the problem of
finding the nearest neighbor to every Example in the set of 40 In order to gather sufficient light to form an image , camera
Examples . This is in contrast to the general view among shutters are often left open for long enough that camera
those having ordinary skill in the art, as discussed above, motion can cause blurring. This can happen as a result of
that machines with very many arithmetic processing ele                camera shake in inexpensive consumer cameras as well as
ments on a single chip , or similar, are not very useful.             with very expensive but fast moving cameras mounted on
                                                                   45 satellites or aircraft . If the motion path of the camera is
          Application 2 : Distance Weighted Scoring                   known ( or can be computed) then the blur can be substan
                                                                    tially removed using various deblurring algorithms. One
   A task related to Nearest Neighbor is Distance Weighted such algorithm is the Richardson -Lucy method (“ RL ” ), and
Scoring . In this task , each Example has an associated Score . we show here that embodiments of the present invention can
This is a number that in some way characterizes the 50 run that algorithm and produce useful results . Following the
Example. For instance , if the Examples are abstractions of discussion format above, we discuss criteria of Accuracy and
the history of prices of given stock , the cores might be Efficiency.
historical probabilities of whether the price is about to         Algorithm .
increase or decrease . Given a Test vector, the task is to form    The Richardson - Lucy algorithm is well known and
a weighted sum of the Scores of all the Examples, where the 55 widely available . Assume that an image has been blurred
weights are a diminishing function of the distance from the using a known kernel. In particular, assume that the kernel
Test to the respective Examples. For example, this weighted is a straight line and that the image has been oriented so that
score might be taken as a prediction of the future price of the the blur has occurred purely in a horizontal direction .
stock whose history is represented by the Test. This use of Consider the particular kernel for which the J’th pixel in
embodiments of the invention might help support, for 60 each row of the blurred image is the uniformly weighted
instance, high speed trading of stocks, as is performed by mean of pixels J through J + 31 in the original unblurred
certain " quantitative ” hedge funds, despite the general view image .
by those having ordinary skill in the art that low precision     Accuracy.
computation is not of use in financial applications.             We implemented in the C programming language a
   The C code described above computes weighted scores 65 straightforward version of the RL method that uses LPHDR
along with nearest neighbors. The scores assigned to arithmetic. The program reads a test image , blurs it using the
Examples in this computation are random numbers drawn kernel discussed above , then deblurs it using either fp + noise
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or lns arithmetic. The RL algorithm computes sums , such as         ment of the present invention built as a large silicon chip
when convolving the kernel with the current approximation fabricated with current state of the art technology might
of the deblurred image . Our implementation computes these perform tens of thousand of arithmetic operations per cycle ,
sums using the Kahan method , discussed earlier. FIG . 7 as opposed to hundreds in a conventional GPU or a handful
shows the test image in original form . It is a satellite picture 5 in a conventional multicore CPU . These ratios reflect an
of a building used during Barack Obama's inauguration. architectural advantage of embodiments of the present
FIG . 8 shows the image extremely blurred by the kernel. It invention that should persist as fabrication technology con
is difficult to see any particular objects in this image . FIG . tinues to improve, even as we reach nanotechnology or other
  shows the result of deblurring using standard floatingpoint implementations for digital and analog computing.
arithmetic . FIG . 10 shows the result of deblurring using 10 Doing arithmetic with few resources generally means , and
fp +noise arithmetic, and FIG . 11 shows the result of deblur in the embodiments shown specifically means , that the
ring using Ins arithmetic . In all these cases the image is arithmetic is done using low power. As a result , a machine
sufficiently restored that it is possible to recognize buildings , implemented in accordance with embodiments of the present
streets, parking lots , and cars .                                  invention can have extremely high performance with rea
   In addition to displaying the images herein for judgement 15 sonable power ( for instance in the tens of watts) or low
using the human eye , we computed a numerical measure of power ( for instance a fraction of a watt) with reasonably
deblurring performance. We computed the mean difference, high performance. This means that such embodiments may
over all pixels in the image , between each original pixel be suitable for the full range of computing, from supercom
value ( a gray scale value from 0 to 255 ) and the correspond puters, through desktops, down to mobile computing . Simi
ing value in the image reconstructed by the RL method . 20 larly, and since cost is generally associated with the amount
Those numerical measures are shown below in Table 1 :               of available resources , embodiments of the present invention
                                                                    may provide a relatively high amount of computing power
                            TABLE 1                                 per unit of cost compared to conventional computing
                                                                    devices.
      Image type                         Mean pixel error      25     The SIMD architecture is rather old and is frequently
      Blurred                                 32.0                  discarded as an approach to computer design by those
      RL using standard floating point         13.0                 having ordinary skill in the art. However, if the processing
      RL using fp + noise                      13.8
                                                                  elements of a SIMD machine can be made particularly small
      RL using Ins                             14.8
                                                                  while retaining important functionality, such as general
                                                               30 arithmetic ability, the architecture can be useful. The
   These results, together with the subjective but important embodiments presented herein have precisely those quali
judgements made by the humane, show that LPR ties.
arithmetic provides substantial and useful degree of             The discovery that massive amounts of LPHDR arithme
deblurring compared to standard floating point arithmetic . tic is useful as a fairly general computing framework , as
Further, in this example we chose an extreme degree of 35 opposed to the common belief that it is not useful, can be an
burring , better convey the concept and visual impact of advantage in any (massively or non - massively) parallel
the deblurring using LPHDR arithmetic . On more gentle and machine design or non - parallel design , not just in SIMD
typical blur kernels, the resulting deblurred images are much embodiments . It could be used in FPGAs, FPGAs, GPU /
closer to the originals than in this case , as can be seen by SIMT machines , MIMD machines, and in any kind of
shrinking the kernel length and running the RL algorithm 40 machine that uses compact arithmetic processing elements
withEfficiency
       LPHDR. arithmetic on those more typical cases .        to perform large amounts of computation using a small
                                                              amount of resources (like transistors or volume).
   It is clear to those with ordinary skill in the art that     Another advantage of embodiments of the present inven
Richardson -Lucy using a local kernel performs only local tion is that they are not merely useful for performing
computational operations. An image to be deblurred can be 45 computations efficiently in general, but that they can be used
loaded into the PE array , storing one or more pixels per PE , to tackle a variety of real -world problems which are typi
the deconvolution operation of RL can then be iterated cally assumed to require high- precision computing ele
dozens or hundreds of times , and the deblurred image can be ments, even though such embodiments include only ( or
read back to the host processor. As long as sufficient predominantly ) low -precision computing element
iterations are performed, this makes efficient use of the 50 Although several examples of such real -world problems
machine .                                                             have been presented herein , and although we have also had
   An extreme form of image deblurring is the Iterative success implementing non - bonded force field computations
Reconstruction method used in computational tomography. for molecular dynamics simulation and other tasks , these are
Reconstructing 3D volumes from 2D projections is an merely examples and do not constitute an exhaustive set of
extremely computational task. The method discussed above 55 the real -world problems that embodiments of the present
generalizes naturally to Iterative Reconstruction and makes invention may be used to solve .
efficient use of the machine .                                           The embodiments disclosed above are merely examples
   Among the advantages of embodiments of the invention and do not constitute limitations of the present invention .
are one or more of the following.                                     Rather, embodiments of the present invention may be imple
   PEs implemented according to certain embodiments of 60 mented in a variety of other ways, such as the following.
the present invention may be relatively small for PEs that               For example, embodiments of the present invention may
can do arithmetic. This means that there are many PEs per represent values in any of a variety of ways , such as by using
unit of resource ( e.g. , transistor, area , volume ) , which in turn digital or analog representations, such as fixed point, loga
means that there is a large amount of arithmetic computa rithmic , or floating point representations, voltages , currents ,
tional power per unit of resource. This enables larger prob- 65 charges, pulse width , pulse density, frequency, probability,
lems to be solved with a given amount of resource than does spikes, timing , or combinations thereof. These underlying
traditional computer designs. For instance, a digital embodi representations may be used individually or in combination
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to represent the LPHDR values . LPHDR arithmetic circuits             Although certain embodiments of the present invention
may be implemented in any of a variety of ways , such as by        are described herein as being implemented using custom
using various digital methods (which may be parallel or            silicon as the hardware , this is merely an example and does
serial, pipelined or not) or analog methods or combinations        not constitute a limitation of the present invention . Alterna
thereof. Arithmetic elements may be connected using vari- 5 tively, for example, embodiments of the present invention
ous connection architectures, such as nearest 4 , nearest 8 , may be implemented using FPGA or other reconfigurable
 hops of varying degree, and architectures which may or may chips as the underlying hardware , in which the FPGAs or
 not be rectangular or grid - like. Any method may be used for other reconfigurable chips are configured to perform the
                                                                      LPHDR operations disclosed herein . As another example ,
orcommunication
                    among arithmetic elements, such as parallel
     serial, digital or analog or mixed -mode communication. 10 using embodiments    of the presentconventional
                                                                             any programmable        invention maydigital
                                                                                                                    be implemented
                                                                                                                          or analog
 Arithmetic elements may operate synchronously or asyn computing                   architecture ( including those  which  use high
 chronously, and may operate globally simultaneously or not . precision computing elements, including those which               use
 Arithmetic elements may be implemented, for example, on other kinds of non -LPHDR hardware to perform LPHDR
aacross
    singlemultiple
            physical devices
                      device, such   as a silicon chip , or spread 15 arithmetic , and including those which aremassively paral
                              and an embodiment built from lel ) which has been programmed with software to perform
multiple devices may have its arithmetic elements connected the LPHDR operations disclosed herein . For example ,
 in a variety of ways , including for example being connected embodiments of the present invention may be implemented
 as a grid, torus, hypercube, tree, or other method . Arithmetic using a software emulator of the functions disclosed herein .
 elements may be connected to a host machine , if any, in a 20 As yet another example, embodiments of the present
variety of ways , depending on the cost and bandwidth and invention may be implemented using 3D fabrication tech
 other requirements of a particular embodiment. For example nologies , whether based on silicon chips or otherwise . Some
 there may be many host machines connected to the collec              example embodiments are those in which a memory chip has
 tion of arithmetic elements .                                        been bonded onto a processor or other device chip or in
    Although certain embodiments of the present invention 25 which several memory and / or processor or other device
 are described as being implemented as a SIMD architecture , chips have been bonded to each other in a stack . 3D
this is merely an example and does not constitute a limitation embodiments of the present invention are very useful as they
 of the present invention. For example, embodiments of the may be denser than 2D embodiments and may enable 3D
 present invention may be implemented as reconfigurable communication of information between the processing units,
 architectures, such as but not limited to programmable logic 30 which enables more algorithms to run efficiently on those
 devices, field programmable analog arrays , or field program         embodiments compared to 2D embodiments.
 mable gate array architectures, such as a design in which               Although certain embodiments of the present invention
 existing multiplier blocks of an FPGA are replaced with or are described herein as being implemented using silicon chip
 supplemented by LPHDR arithmetic elements of any of the fabrication technology, this is merely an example and does
 kinds disclosed herein , or for example in which LPHDR 35 not constitute a limitation of the present invention . Alterna
 elements are included in a new or existing reconfigurable tively , for example, embodiments of the present invention
 device design . As another example, embodiments of the may be implemented using technologies that may enable
 present invention may be implemented as a GPU or SIMT other sorts of traditional digital and analog computing
 style architecture which incorporates LPHDR arithmetic processors or other devices. Examples of such technologies
 elements of any of the kinds disclosed herein . For example , 40 include various nanomechanical and nanoelectronic tech
LPHDR elements could supplement or replace traditional             nologies , chemistry based technologies such as for DNA
arithmetic elements in current or new graphics processing          computing, nanowire and nanotube based technologies,
unit designs. As yet another example , embodiments of the optical technologies, mechanical technologies, biological
present invention may be implemented as a MIMD - style technologies, and other technologies whether based on tran
architecture which incorporates LPHDR arithmetic elements 45 sistors or not that are capable of implementing LPHDR
of any of the kinds disclosed herein . For example , LPHDR architectures of the kinds disclosed herein .
arithmetic elements could supplement or replace traditional          Certain embodiments of the present invention have been
arithmetic elements in current or new MIMD computing described as “ massively parallel” embodiments. Although
system designs. As yet another example, embodiments of the certain embodiments of the present invention may include
present invention may be implemented as any kind of 50 thousands, millions , or more arithmetic units, embodiments
machine, including a massively parallel machine , which of the present invention may include any number of arith
uses compact arithmetic processing elements to provide metic units ( as few as one) . For example, even an embodi
large amounts of arithmetic computing capability using a ment which includes only a single LPHDR unit may be used
small amount of resources ( for example, transistors or area within a serial processing unit or other device to provide a
or volume) compared with traditional architectures .           55 significant amount of LPHDR processing power in a small ,
   Although certain embodiments of the present invention inexpensive processor or other device .
are described herein as executing software , this is merely an       For certain embodiments of the present invention , even if
example and does not constitute a limitation of the present implemented using only digital techniques, the arithmetic
invention . Alternatively, for example, embodiments of the operations may not yield deterministic , repeatable, or the
present invention may be implemented using microcode or 60 most accurate possible results within the chosen low preci
a hardware sequencer or state machine or other controller to sion representation . For instance, on certain specific input
control LPHDR arithmetic elements of any of the kinds values , an arithmetic operation may produce a result which
disclosed herein . Alternatively, for example, embodiments          is not the nearest value in the chosen representation to the
of the present invention may be implemented using hard         true arithmetic result.
wired , burned , or otherwise pre -programmed controllers to 65 The degree of precision of a “ low precision, high dynamic
control LPHDR arithmetic elements of any of the kinds range ” arithmetic element may vary from implementation to
disclosed herein .                                             implementation. For example, in certain embodiments, a
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LPHDR arithmetic element produces results which include executing that operation on each of those respective inputs,
fractions, that is , values greater than zero and less than one . differs by at least E from the result of an exact mathematical
For example, in certain embodiments , a LPHDR arithmetic calculation of the operation on those same input values ,
element produces results which are sometimes (or all of the where F is 1 % and E is 0.05 % . In several other example
time ) no closer than 0.05 % to the correct result (that is , the 5 embodiments, F is not 1 % but instead is one of 2 % , or 5 % ,
absolute value of the difference between the produced result or 10 % , or 20% , or 50% . For each of these example
and the correct result is no more than one -twentieth of one embodiments, each with some specific value for F, there are
percent of the absolute value of the correct result ). As other example embodiments in which E is not 0.05 % but
another example , a LPHDR arithmetic element may produce instead is 0.1 % , or 0.2 % , or 0.5 % , or 1 % , or 2 % , or 5 % , or
results which are sometimes (or all of the time) no closer 10 10% , or 20% . These varied embodiments are merely
than 0.1 % to the correct result . As another example, a examples and do not constitute limitations of the present
LPHDR arithmetic element may produce results which are invention .
sometimes ( or all of the time ) no closer than 0.2 % to the           For certain devices ( such as computers or processors or
correct result. As yet another example, a LPHDR arithmetic other devices ) embodied according the present invention ,
element may produce results which are sometimes (or all of 15 the number of LPHDR arithmetic elements in the device
the time ) no closer than 0.5 % to the correct result. As yet (e.g. , computer or processor or other device ) exceeds the
further examples, a LPHDR arithmetic element may pro                 number, possibly zero , of arithmetic elements in the device
duce results which are sometimes (or all of the time ) no which are designed to perform high dynamic range arith
closer than 1 % , or 2 % , or 5 % , or 10% , or 20% to the correct metic of traditional precision ( that is , floating point arith
result .                                                          20 metic with a word length of 32 or more bits ) . If NL is the
   Besides having various possible degrees of precision, total number of LPHDR elements in such a device, and NH
implementations may vary in the dynamic range of the space is the total number of elements in the device which are
of values they process . For example, in certain embodi designed to perform high dynamic range arithmetic of
ments, a LPHDR arithmetic element processes values in a traditional precision , then NL exceeds T (NH ) , where T ( ) is
space which may range approximately from one millionth to 25 some function. Any of a variety of functions may be used as
one million . As another example, in certain embodiments, a the function T ( ) . For example, in certain embodiments,
LPHDR arithmetic element processes values in a space T (NH ) may be twenty plus three times NH , and the number
which may range approximately from one billionth to one of LPHDR arithmetic elements in the device may exceed
billion . As yet another example , in certain embodiments, a twenty more than three times the number of arithmetic
LPHDR arithmetic element processes values in a space 30 elements in the device, if any, designed to perform high
which may range approximately from one sixty five thou dynamic range arithmetic of traditional precision. As
sandth to sixty five thousand. As yet further examples, in another example, in certain embodiments , the number of
certain embodiments, a LPHDR arithmetic element pro                LPHDR arithmetic elements in the device may exceed fifty
cesses values in a space which may range from any specific         more than five times the number of arithmetic elements in
value between zero and one sixty five thousandth up to any 35 the device, if any, designed to perform high dynamic range
specific value greater than sixty five thousand . As yet further   arithmetic of traditional precision . As yet another example ,
examples, other embodiments may process values in spaces in certain embodiments, the number of LPHDR arithmetic
with dynamic ranges that may combine and may fall elements in the device may exceed one hundred more than
between the prior examples, for example ranging from five times the number of arithmetic elements in the device,
approximately one billionth to ten million . In all of these 40 if any, designed to perform high dynamic range arithmetic of
example embodiments of the present invention, as well as in traditional precision . As yet another example, in certain
other embodiments, the values that we are discussing may be embodiments, the number of LPHDR arithmetic elements in
signed, so that the above descriptions characterize the abso      the device may exceed one thousand more than five times
lute values of the numbers being discussed .                      the number of arithmetic elements in the device, if any ,
   The frequency with which LPHDR arithmetic elements 45 designed to perform high dynamic range arithmetic of
may yield only approximations to correct results may vary traditional precision . As yet another example, in certain
from implementation to implementation . For example , con         embodiments, the number of LPHDR arithmetic elements in
sider an embodiment in which LPHDR arithmetic elements the device may exceed five thousand more than five times
can perform one or more operations (perhaps including , for the number of arithmetic elements in the device, if any,
example, trigonometric functions ), and for each operation 50 designed to perform high dynamic range arithmetic of
the LPHDR elements each accept a set of inputs drawn from traditional precision . Certain embodiments of the present
a range of valid values , and for each specific set of input invention may be implemented within a single physical
values the LPHDR elements each produce one or more device, such as but not limited to a silicon chip or a chip
output values ( for example, simultaneously computing both stack or a chip package or a circuit board , and the number
sin and cos of an input), and the output values produced for 55 NL of LPHDR elements in the physical device and the
a specific set of inputs may be deterministic or non -deter number NH of elements designed to perform high dynamic
ministic . In such an example embodiment, consider further range arithmetic of traditional precision in the physical
a fraction F of the valid inputs and a relative error amount device may be the total counts of the respective elements
E by which the result calculated by an LPHDR element may within that physical device . Certain embodiments of the
differ from the mathematically correct result . In certain 60 present invention may be implemented in a computing
embodiments of the present invention , for each LPHDR system including more than one physical device , such as but
arithmetic element, for at least one operation that the not limited to a collection of silicon chips or chip stacks or
LPHDR unit is capable of performing, for at least fraction F chip packages or circuit boards coupled to and communi
of the possible valid inputs to that operation , for at least one cating with each other using any means ( such as a bus ,
output signal produced by that operation , the statistical 65 switch , any kind of network connection , or other means of
mean , over repeated execution, of the numerical values communication ), and in this case the number NL of LPHDR
represented by that output signal of the LPHDR unit, when elements in the computing system and the number NH of
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elements designed to perform high dynamic range arithmetic suitable for tangibly embodying computer program instruc
of traditional precision in the computing system may be the tions include , for example , all forms of non - volatile
total counts of the respective elements within all those memory , such as semiconductor memory devices , including
physical devices jointly .                                  EPROM , EEPROM , and flash memory devices ; magnetic
   Certain embodiments of the present invention may con 5 disks such as internal hard disks and removable disks ;
stitute , or may be part of, processors , which are devices magneto -optical disks ; and CD - ROMs . Any of the foregoing
capable of executing software to perform computations. may be supplemented by, or incorporated in , specially
Such processors may include mechanisms for storing soft         designed ASICs ( application - specific integrated circuits) or
ware , for using the software to determine what operations to   FPGAs ( Field -Programmable Gate Arrays ). A computer can
perform , for performing those operations, for storing 10 generally also receive programs and data from a storage
numerical data, for modifying data according to the software    medium such as an internal disk ( not shown) or a removable
specified operations, and for communicating with devices        disk . These elements will also be found in a conventional
connected to the processor. Processors may be reconfigu desktop or workstation computer as well as other computers
rable devices, such as , without limitation , field program      suitable for executing computer programs implementing the
mable arrays. Processors may be co -processors to assist host 15 methods described herein , which may be used in conjunc
machines or may be capable of operating independently of tion with any digital print engine or marking engine, display
an external host . Processors may be formed as a collection monitor, or other raster output device capable of producing
of component host processors and co -processors of various color or gray scale pixels on paper, film , display screen , or
types , such as CPUs , GPUs , FPGAs, or other processors or other output medium .
other devices, which in the art may be referred to as a 20 The invention claimed is :
heterogeneous processor design or heterogeneous comput         1. A computing system , comprising:
ing system , some or all of which components might incor       a host computer;
porate the same or distinct varieties of embodiments of the    a computing chip comprising:
present invention .                                               a processing element array comprising a first edge
   Embodiments of the present invention may, however, be 25          processing element positioned at a first edge of the
implemented in devices in addition to or other than proces           processing element array, a second edge processing
sors . For example, a computer including a processor and             element positioned at the first edge of the processing
other components ( such as memory coupled to the processor           element array, a first interior processing element
by a data path ), wherein the processor includes components          positioned at a first location in an interior of the
for performing LPHDR operations in any of the ways 30                processing element array, and a second interior pro
disclosed herein , is an example of an embodiment of the             cessing element positioned at a second location in
present invention . More generally, any device or combina            the interior of the processing element array ;
tion of devices , whether or not falling within the meaning of    a first processing element connection connecting the
a “ processor,” which performs the functions disclosed herein        first edge processing element with the first interior
may constitute an example of an embodiment of the present 35         processing element;
invention.                                                        a second processing element connection connecting the
    More generally, any of the techniques described above            second edge processing element with the second
may be implemented, for example, in hardware, software               interior processing element;
tangibly stored on a computer -readable medium , firmware,        an input -output unit connected to the first edge pro
or any combination thereof. The techniques described above 40        cessing element and the second edge processing
may be implemented in one or more computer programs                  element;
executing on a programmable computer including a proces           a first memory local to the first edge processing ele
sor, a storage medium readable by the processor ( including,         ment;
for example, volatile and non - volatile memory and / or stor     a second memory local to the second edge processing
age elements ), at least one input device, and at least one 45       element;
output device . Program code may be applied to input entered      a third memory local to the first interior processing
using the input device to perform the functions described            element; and ,
and to generate output. The output may be provided to one         a fourth memory local to the second interior processing
or more output devices .                                             element;
   Each computer program within the scope of the claims 50        wherein the first edge processing element comprises a
below may be implemented in any programming language,                first arithmetic unit;
such as assembly language, machine language, a high - level       wherein the second edge processing element comprises
procedural programming language, or an object -oriented              a second arithmetic unit;
programming language. The programming language may,               wherein the first interior processing element comprises
for example , be a compiled or interpreted programming 55            a third arithmetic unit; and
language.                                                         wherein the second interior processing element com
    Each such computer program may be implemented in a               prises a fourth arithmetic unit; and,
computer program product tangibly embodied in a machine        a host connection at least partially connecting the input
readable storage device for execution by a computer pro        output unit with the host computer;
cessor. Method steps of the invention may be performed by 60 wherein the first second, third and fourth arithmetic units
a computer processor executing a program tangibly embod        each comprises a corresponding multiplier circuit
ied on a computer -readable medium to perform functions of     adapted to receive as a first input to the corresponding
the invention by operating on input and generating output.     multiplier circuit a first floating point value having a
Suitable processors include, by way of example, both gen       first binary mantissa of width no more than 11 bits and
eral and special purpose microprocessors. Generally, the 65    a first binary exponent of width at least 6 bits , and to
processor receives instructions and data from a read -only     receive as a second input to the corresponding multi
memory and / or a random access memory. Storage devices        plier circuit a second floating point value having a
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      second binary mantissa of width no more than 11 bits                circuit a first floating point value having a first binary
      and a second binary exponent of width at least 6 bits .             mantissa of width no more than 11 bits and a first binary
   2. The computing system of claim 1 , wherein the com                   exponent of width at least 6 bits , and to receive as a
puting chip further comprises a control unit connected to the             second input to the first corresponding multiplier circuit
processing element array, the control unit comprising cir- 5              a second floating point value having a second binary
cuitry adapted to decode at least one instruction received                mantissa of width no more than 11 bits and a second
from the host computer via the input -output unit, and to send            binary exponent of width at least 6 bits .
at least one control signal to the processing element array to         8. The computing system of claim 7 ,
cause the processing element array to operate according to             wherein   the computing chip further comprises a plurality
the at least one instruction .                                   10
                                                                          of second  processing elements, wherein the plurality of
   3. The computing system of claim 2 , wherein the com                   second   processing   elements each comprises a second
puting chip further comprises an instruction memory                       corresponding     multiplier circuit adapted to receive as
adapted to store the at least one instruction received from the           inputs  to the   second  corresponding   multiplier circuit
host computer via the input-output unit , wherein the control             two  floating  point values  each of width at least 32 bits ;
unit is further adapted to retrieve the at least one instruction 15
from the instruction memory .                                          wherein , other than the plurality of second processing
   4. The computing system of claim 1 , wherein said host                 elements, the computing chip has no other processing
computer is programmed to provide instructions to said                    element that comprises a multiplier circuit adapted to
computing chip that, when executed , cause said processing                receive as inputs to the multiplier circuit two floating
element array to perform an operation whose output is used 20             point values each of width at least 32 bits ; and
to identify at least one image , from a plurality of images to         wherein the plurality of first processing elements is
be searched , that is similar to at least one input image .               greater in number, by at least 100 , than the plurality of
   5. The computing system of claim 1 , wherein the width of              second processing elements.
each first binary mantissa is no more than 10 bits plus a first        9. The computing system of claim 7 , wherein the plurality
sign bit, and wherein the width of each second binary 25 of memory units each comprises a corresponding register.
mantissa is no more than 10 bits plus a second sign bit .              10. The computing system of claim 8 , wherein said host
   6. The computing system of claim 5 , wherein the width of computer is programmed to provide instructions to said
each first binary exponent is at least 5 bits plus a third sign computing chip that, when executed , cause said processing
bit and wherein the width of each second binary exponent is element array to perform an operation whose output is used
at least 5 bits plus a fourth sign bit .                         30 to identify at least one image , from a plurality of images to
   7. A computing system , comprising:                              be searched , that is similar to at least one input image .
   a host computer;                                                    11. The computing system of claim 8 , wherein an aggre
   a computing chip comprising :                                    gate maximum bandwidth of the plurality of processing
     a processing element array comprising a plurality of             element connections exceeds a maximum bandwidth of the
        first processing elements, wherein the plurality of 35 host connection .
        first processing elements is no less than 5000 in                12. The computing system of claim 11, wherein the
        number, wherein each of a first subset of the plurality       computing chip further comprises a control unit connected
        of first processing elements is positioned at a first         to the processing element array, the control unit comprising
        edge of the processing element array, and wherein             circuitry adapted to decode at least one instruction received
        each of a second subset of the plurality of first 40 from the host computer via the input -output unit, and to send
        processing elements is positioned in the interior of          at least one control signal to the processing element array to
        the processing element array;                               cause the processing element array to operate according to
     an input-output unit connected to each of the first the at least one instruction .
        subset of the plurality of first processing elements ;         13. The computing system of claim 12 , wherein the
     a plurality of processing element connections, each 45 computing chip further comprises an instruction memory
        processing element connection connecting one of the adapted to store the at least one instruction received from the
        plurality of first processing elements with another of host computervia the input -output unit, wherein the control
        the plurality of first processing elements, wherein unit is further adapted to retrieve the at least one instruction
        each of the plurality of first processing elements is from the instruction memory.
        connected to at least one other of the plurality of first 50 14. The computing system of claim 7 , wherein the width
        processing elements by at least one of the plurality of of each first binary mantissa is no more than 10 bits plus a
        processing element connections;                             first sign bit , and wherein the width of each second binary
     a plurality of memory units , wherein each of the mantissa is no more than 10 bits plus a second sign bit .
        plurality of first processing elements is associated           15. The computing system of claim 14 , wherein the width
        with a corresponding one of the plurality of memory 55 of each first binary exponent is at least 5 bits plus a third sign
        units , and wherein each of the plurality of memory bit and wherein the width of each second binary exponent is
        units is local to its associated one of the plurality of at least 5 bits plus a fourth sign bit .
        first processing elements ; and,                               16. A computing system , comprising:
     a plurality of arithmetic units, wherein each of the              a host computer;
        plurality of first processing elements has positioned 60 a computing chip comprising:
        therein at least one of the plurality of arithmetic               a processing element array comprising a first edge
        units ; and,                                                         processing element positioned at a first edge of the
  a host connection at least partially connecting the input                  processing element array, a second edge processing
     output unit with the host computer;                                     element positioned at the first edge of the processing
  wherein the plurality of arithmetic units each comprises a 65              element array , a first interior processing element
     first corresponding multiplier circuit adapted to receive               positioned at a first location in the interior of the
     as a first input to the first corresponding multiplier                  processing element array, and a second interior pro
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        cessing element positioned at a second location in                 than 11 bits and a third binary exponent of width at least
        the interior of the processing element array ;                     6 bits , and to receive as a fourth input to the second
     a first processing element connection connecting the                  corresponding multiplier circuit a fourth floating point
        first edge processing element with the first interior              value having a fourth binary mantissa of width no more
        processing element;                                   5
                                                                           than 11 bits and a fourth binary exponent of width at
     a second processing element connection connecting the                 least 6 bits ;
        second edge processing element with the second                   wherein the computing chip further comprises a plurality
        interior processing element;                                       of second additional processing elements, wherein the
     an input- output unit connected to the first edge pro                 plurality of second additional processing elements each
        cessing element and the second edge processing 10                  comprises a third corresponding multiplier circuit
        element;                                                           adapted to receive as inputs to the third corresponding
     a first memory local to the first edge processing ele                  multiplier circuit two floating point values each of
        ment;                                                               width at least 32 bits ;
     a second memory local to the second edge processing          wherein other than the second additional processing ele
        element;                                              15
                                                                     ments the computing chip has no other processing
     a third memory local to the first interior processing           element that comprises a multiplier circuit adapted to
        element; and                                                 receive  as inputs to the multiplier circuit two floating
     a fourth memory local to the second interior processing
        element;                                                     point values  each of width at least 32 bits ; and ,
     wherein the first edge processing element comprises a 20 wherein       the plurality of first additional processing ele
                                                                    ments is greater in number, by at least 100 , than the
        first arithmetic unit ;
     wherein the second edge processing element comprises            plurality of second additional processing elements .
        a second arithmetic unit;                                 19. The computing system of claim 18 , wherein said host
     wherein the first interior processing element comprises computer      is programmed to provide instructions to said
        a third arithmetic unit; and                         25 computing chip that, when executed , cause said processing
     wherein the second interior processing element com toelement        array to perform an operation whose output is used
                                                                  identify at least one image , from a plurality of images to
       prises a fourth arithmetic unit ;
  a host connection at least partially connecting the input be 20.searched, that is similar to at least one input image .
                                                                      The computing system of claim 18 , wherein the
     output unit with the host computer;
  an external edge processing element external to the com- 30 computing   chip further comprises a control unit connected
                                                              to the processing element array, the control unit comprising
     puting chip;
  an external input -output unit external to the computing circuitry    adapted to decode at least one instruction received
                                                              from the host computer via the input -output unit, and to send
     chip; and,                                                      at least one control signal to the processing element array to
   a fifth memory local to the external edge processing cause                the processing element array to operate according to
      element;                                                    35
  wherein the external edge processing element comprises the21.at least       The
                                                                                     one instruction .
                                                                                     computing system of claim 20, wherein the
      a fifth arithmetic unit;
  wherein the first, second , third, fourth , and fifth arithmetic adapted to store thefurther
                                                                     computing       chip          comprises an instruction memory
                                                                                             at least one instruction received from the
      units each comprises a first corresponding multiplier
      circuit adapted to receive as a first input to the first 40 host    computer via the input -output unit, wherein the control
      corresponding multiplier circuit a first floating point unit        is further adapted to retrieve the at least one instruction
      value having a first binary mantissa of width no more from            the instruction memory.
      than 11 bits and a first binary exponent ofwidth at least of eachThefirstcomputing
                                                                        22.                     system of claim 16 , wherein the width
      6 bits , and to receive as a second input to the first first sign bit , and wherein theiswidth
                                                                                      binary mantissa      no more than 10 bits plus a
                                                                                                                 of each second binary
      corresponding multiplier circuit a second floating point 45 mantissa       is no more than 10 bits plus a second sign bit .
      value having a second binary mantissa of width no
      more than 11 bits and a second binary exponent of of 23.          each
                                                                             The computing system of claim 22 , wherein the width
                                                                               first binary exponent is at least 5 bits plus a third sign
      width at least 6 bits ; and
  wherein the first edge processing element is connected bit             and wherein the width of each second binary exponent is
      with the external edge processing element through the 50 at 24.   least 5 bits plus a fourth sign bit .
                                                                             The computing system of claim 18 , wherein the width
      input -output unit and the external input -output unit .
   17. The computing system of claim 16 , wherein the first first signfirstbitbinary
                                                                     of  each                mantissa is no more than 10 bits plus a
edge processing element is connected with the external edge mantissa is no more thanthe 10width
                                                                                       , wherein
                                                                                                          bits
                                                                                                               of each second binary
                                                                                                               plus  a second sign bit ,
processing element using a torus interconnect.
   18. The computing system of claim 16 ,                         55 wherein the width of each third binary mantissa is no more
  wherein the processing element array further comprises a than            10 bits plus a third sign bit , and wherein the width of
      plurality of first additional processing elements and a each          fourth binary mantissa is no more than 10 bits plus a
      plurality of first additional arithmetic units , each of the fourth     sign bit .
      plurality of first additional processing elements having of 25.        The computing system of claim 24 , wherein the width
      positioned therein at least one of the plurality of first 60 bit ,each   first binary exponent is at least 5 bits plus a fifth sign
                                                                          wherein the width of each second binary exponent is at
      additional arithmetic units ;
  wherein the plurality of first additional arithmetic units third   least 5 bits plus a sixth sign bit , wherein the width of each
      each comprises a second corresponding multiplier cir and wherein     binary exponent is at least 5 bits plus a seventh sign bit ,
      cuit adapted to receive as a third input to the second                          the width of each fourth binary exponent is at
      corresponding    multiplier circuit a third floating point 65 least 5 bits plus an eighth sign bit .
      value having a third binary mantissa of width no more
